Case 23-13437-pmm          Doc 9
                               Filed 11/15/23 Entered 11/16/23 07:57:30                    Desc Main
                              Document      Page 1 of 2
                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                         :       CHAPTER 13
ALBERTH JUSHUA RIVERA,                         :
a/k/a ALBERTH J. RIVERA,                       :       CASE NO.: 23-13437-pmm
a/k/a ALBERTH RIVERA,                          :
            Debtor.                            :

                NOTICE OF MOTION RESPONSE DEADLINE AND HEARING

     Robert J. Kidwell, Esquire, counsel for Movant ALBERTH JUSHUA RIVERA, has filed a
MOTION TO EXTEND AUTOMATIC STAY pursuant to Section 362(c)(3)(B).

     YOUR RIGHTS MAY BE AFFECTED. YOU SHOULD READ THESE PAPERS
CAREFULLY AND DISCUSS THEM WITH YOUR ATTORNEY, IF YOU HAVE ONE IN THIS
BANKRUPTCY CASE. (IF YOU DO NOT HAVE ANY ATTORNEY YOU MAY WISH TO
CONSULT AN ATTORNEY).

       1. If you do not want the Court to grant the relief sought in the motion or, if you want the Court to
consider your views on the Motion, then on or before November 29, 2023, you or your attorney must do
ALL of the following:

       (a) file an objection explaining your position at:

               United States Bankruptcy Court
               Office of the Clerk, Gateway Building
               201 Penn Street, 1st Floor
               Reading, PA 19601-4038

      If you mail your objection to the Bankruptcy Clerk's Office for filing, you must mail it early
enough so that it will be received on or before the date stated above; and,

       (b)     mail a copy to the Movant’s attorney:

               Robert J. Kidwell, Esq.
               Attorney for Debtor
               712 Monroe Street, PO Box 511
               Stroudsburg, PA 18360-0511
Case 23-13437-pmm         Doc 9    Filed 11/15/23 Entered 11/16/23 07:57:30 Desc Main
                                   Document       Page 2 of 2
       2.     If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b)
above and attend the hearing, the Court may enter an Order granting the relief requested in the
Motion.

A hearing on the Motion is scheduled to be held before the Honorable Patricia M. Mayer, United States
Bankruptcy Judge, on December 5, 2023 at 10:00 a.m. in the Fourth Floor Courtroom, United States
Bankruptcy Court, 201 Penn Street, Suite 103, Reading, PA 19601. Unless the Court orders otherwise,
the hearing on this contested matter will be an evidentiary hearing at which witnesses may testify with
respect to disputed material factual issues in the manner directed by Fed. R. Bankr. P. 9014(d).

       3.      If a copy of the Motion is not enclosed, a copy of the Motion will be provided to you if
you are on the Clerk's Service List and you request a copy from the attorney named in paragraph 1(b).

       5.       You may contact the Bankruptcy Clerk's office at 610-208-5040 to find out whether
the hearing has been cancelled because no one filed an answer.


Date: November 15, 2023                      /s/ Robert J. Kidwell, Esq.
                                             ROBERT J. KIDWELL, ESQUIRE
                                             Attorneys for Movant Debtor
                                             Attorney I.D. No. 206555
                                             P.O. Box 511, 712 Monroe Street
                                             Stroudsburg, PA 18360
                                             (570) 421-9090, fax (570) 424-9739
                                             rkidwell@newmanwilliams.com
